                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANTHONY MAMMANA                   :
                                  :
         v.                       :                 No. 4:17-CV-0645
                                  :
FEDERAL BUREAU OF PRISONS, et al. :


                                            ORDER


       AND NOW this _____________ day of ____________, 2018, upon consideration of

Defendants’ Motion to Dismiss and/or, in the Alternative, for Summary Judgment, and

Plaintiff’s Response in Opposition thereto, it is hereby ORDERED and DECREED that:

       1) Defendant, Federal Bureau of Prisons is voluntarily dismissed without prejudice;

       2) Plaintiff’s claim for malicious prosecution is voluntarily dismissed without prejudice;

       3) Plaintiff’s claim for violation of due process is voluntarily dismissed without

          prejudice; and,

       4) Defendants’ Motion to Dismiss and/or, in the Alternative, for Summary Judgment is

          DENIED.

       AND IT IS SO ORDERED.



                                                    ____________________________________
                                                    HON. MATTHEW W. BRANN, U.S.D.J.
                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANTHONY MAMMANA                   :
                                  :
         v.                       :                No. 4:17-CV-0645
                                  :
FEDERAL BUREAU OF PRISONS, et al. :


                    PLAINTIFF’S RESPONSE IN OPPOSITION TO
                       DEFENDANTS’ MOTION TO DISMISS
                                   AND/OR
                IN THE ALTERNAITVE, FOR SUMMARY JUDGMENT

       Incorporating by reference Plaintiff’s attached Memorandum of Law in Opposition to

Defendants’ Motion to Dismiss and/or, in the Alternative, for Summary Judgment, Plaintiff,

Anthony Mammana, by and through his undersigned counsel, respectfully requests this

Honorable Court deny Defendants, Federal Bureau of Prisons, Lieutenant David Barben, and

Registered Nurse Rachal Taylor’s Motion and enter Plaintiff’s proposed Order.

       WHEREFORE, Plaintiff, by and through his undersigned counsel, respectfully requests

this Honorable Court deny Defendants’ Motion and enter Plaintiff’s proposed Order.


                                                   WEISBERG LAW

                                                   /s/ Matthew B. Weisberg
                                                   Matthew B. Weisberg, Esquire
                                                   L. Anthony DiJiacomo, III, Esquire
                                                   Attorneys for Plaintiff
                            UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANTHONY MAMMANA                   :
                                  :
         v.                       :                     No. 4:17-CV-0645
                                  :
FEDERAL BUREAU OF PRISONS, et al. :


                 PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
                      PLAINTIFF’S RESPONSE IN OPPOSITION TO
                         DEFENDANTS’ MOTION TO DISMISS
                                     AND/OR
                  IN THE ALTERNAITVE, FOR SUMMARY JUDGMENT

        Plaintiff, Anthony Mammana, by and through his undersigned counsel, hereby provides

his Memorandum of Law in Support of Plaintiff’s Response in Opposition to Defendants,

Federal Bureau of Prisons, Lieutenant David Barben, and Registered Nurse Rachal Taylor’s

Motion to Dismiss and/or, in the Alternative, for Summary Judgment.

I.      PLAINTIFF’S RESPONSE TO DEFENDANTS’ STATEMENT OF MATERIAL FACTS.

        Plaintiff, by and through his undersigned counsel, respectfully incorporates his Response

to Defendants’ Statement of Material Facts (“D’s Stat.”), filed concurrently, as if set forth at

length herein.

II.     PLAINTIFF’S STATEMENT OF MATERIAL FACTS.

        Plaintiff, by and through his undersigned counsel, respectfully incorporates his Statement

of Material Facts (“P. Stat.”), filed concurrently, as if set forth at length herein.

II.     ARGUMENT

                 A.     STANDARD FOR MOTION TO DISMISS: FOWLER REGARDING
                        TWOMBLY AND IQBAL.

        Reversing the District Court’s 12(b)(6) dismissal upon claims of insufficient specificity,

the Third Circuit held the United State Supreme Court in Twombly and Iqbal (in accord with
Phillips) merely requires that the Complaint “set out ‘sufficient factual matter’ to show that the

claim is sufficiently plausible… [allowing] the reasonable inference that the defendant is liable

for the misconduct alleged.” Fowler v. UPML Shadyside, 2009 WL 2501662 (C.A.3 (Pa) 2009)

(quoting Ashcroft v. Iqbal, 129 S.Ct. 1955 (2009)); Bell Atlantic Corp. v. Twombly, 550 U.S. 544

(2007); Phillips v. County of Allegheny, 515 F.3d 224, 230 (C.A.3 2008).

       Fowler reiterated the appropriate Motion to Dismiss standard, as elucidated in Phillips,

holding that: “courts [must] accept all factual allegations as true, construe the Complaint in the

light most favorable to the plaintiff, and determine whether, under any reasonable reading of the

Complaint, the plaintiff may be entitled to relief.” Fowler, supra (quoting Phillips, 515 F.3d at

233) (emphasis added).

               “Even post-Twombly, it has been noted that a plaintiff is not required to establish

the elements of a prima facie case but instead, need only put forth allegations that ‘raise a

reasonable expectation that discovery will reveal evidence of the necessary element.’” Fowler,

supra; (quoting Graff v. Subbiah Cardiology Associates, Ltd., 2008 WL 231 2671 (W.D. Pa.

2008); Phillips, 515 F.3d at 234. Thus, courts should not dismiss a complaint for failure to state

a claim if it “contain[s] either direct or inferential allegations respecting all the material elements

necessary to sustain recovery under some viable legal theory.” Montville Twp. v. Woodmont

Builders LLC, No. 05-4888, 2007 WL 2261567, at *2 (3d Cir. 2007) (quoting Twombly, 550

U.S. at 1969). In fact, a Plaintiff need not plead any causes of action (merely facts with request

for relief). See 2 James Wm. Moore et al., Moore's Federal Practice P 8.04[3].

       “Under the Federal Rules of Civil Procedure, an evidentiary standard is not a proper

measure of whether a complaint fails to state a claim.” Fowler, supra “…[S]tandards of

pleadings are not the same as standards of proof.” Id. “[A] well-pleaded complaint may proceed
even if it strikes a savvy judge that actual proof of those facts alleged is improbable and that a

recovery is very remote and unlikely.” Id. (quoting Twombly, 550 U.S. at 556).

                B.      STANDARD FOR MOTION FOR SUMMARY JUDGMENT.

        The purpose of summary judgment is to avoid a pointless trial in cases where it is

unnecessary and would only cause delay and expense. See Goodman v. Mead Johnson &

Co., 534 F.2d 566, 573 (3d Cir.1976), cert. denied, 429 U.S. 1038 (1977). When considering a

motion for summary judgment, this Court shall grant such motion “if the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if any, show that

there is no genuine issue as to any material fact and that the moving party is entitled to a

judgment as a matter of law.” Fed.R.Civ.P. 56(c).

        Initially, the moving party has the burden of demonstrating the absence of a genuine issue

of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the moving party has

met this burden, the nonmoving party must identify, by affidavits or otherwise, specific facts

showing that there is a genuine issue for trial. Id. Thus, to withstand a properly supported

motion for summary judgment, the nonmoving party must identify specific facts and affirmative

evidence that contradict those offered by the moving party. Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 256-57 (1986); see also Trap Rock Indus., Inc. v. Local 825, Int'l Union of Operating

Eng'rs, 982 F.2d 884, 890 (3d Cir.1992) (“A nonmoving party may not ‘rest upon mere

allegations, general denials or ... vague statements ....”) (citations omitted).

        In deciding the merits of a party's motion for summary judgment, the court's role is not to

evaluate the evidence and decide the truth of the matter, but to determine whether there is a

genuine issue of material fact for trial. Anderson, 477 U.S. at 249. Credibility determinations are

the province of the factfinder. Big Apple BMW, Inc. v. BMW of N. Am., Inc., 974 F.2d 1358,

1363 (3d Cir.1992). When reviewing a motion for summary judgment, this Court should resolve
all reasonable doubts and inferences in favor of the nonmoving party. Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

       The inquiry into whether a “genuine issue” of material fact exists has been defined by the

Supreme Court as whether “the evidence is such that a reasonable jury could return a verdict for

the nonmoving party.” Anderson, 477 U.S. at 248. A fact is “material” if, under the governing

substantive law, a dispute about the fact might affect the outcome of the suit. Id.

       “Summary judgment is proper if there is no genuine issue of material fact and if, viewing

the facts in the light most favorable to the non-moving party, the moving party is entitled to

judgment as a matter of law.” Pearson v. Component Tech. Corp., 247 F.3d 471, 482 n. 1 (3d

Cir.2001) (citing Celotex Corp., 477 U.S. at 322); accord Fed.R.Civ.P. 56(c).

               C.      PLAINTIFF SUFFERED EXTREME DEPRIVATIONS
                       CONSTITUTING CRUEL & UNUSUAL PUNISHMENT
                       THROUGH THE DEPRIVATION OF HIS HUMAN NEEDS.

       Plaintiff, Anthony Mammana suffered extreme deprivations constituting cruel and

unusual punishment through the deprivation of his human needs. See Wilson v. Seiter, 501 U.S.

294, 304-305 (1991) (The Eighth Amendment is violated when conditions of confinement

“produces the deprivation of a single, identifiable human need such as food, warmth, or

exercise”); see also generally, Spain v. Procunier, 600 F.2d 189, 199 (CA9 1979) (outdoor

exercise required when prisoners otherwise are confined to a cell).

       Here, the conditions of Plaintiff’s confinement in the Yellow Room deprived Plaintiff of

warmth, exercise, sleep, and sufficient food. See P. Stat., ¶¶ 14-23. Despite being placed in a cell

with its air conditioning on high, Plaintiff was only given paper clothing to keep warm; he was

deprived of the prison-issued clothing, and regulated sheets, blanket, and towel, which he could

have used to keep warm. See P. Stat., ¶¶ 14, 19. As a result, Plaintiff spent four days shivering in

the cold. See P. Stat., ¶ 21. As a result of the deprivation of the human need for warmth,
Defendants caused Plaintiff to suffer cruel and unusual punishment. See Wilson, 501 U.S. 304-

305 (1991) (deprivation of “warmth” can establish a Eighth Amendment violation).

       Further, while held in the Yellow Room, Defendants kept the bright lights on for the

entire duration of confinement. See P. Stat., ¶ 16. With the bright lights bouncing off the bright,

yellow paint, combined with the constant shivering Plaintiff was undergoing, Plaintiff was

deprived of sleep for approximately four days. See P. Stat., ¶ 21. As a result of the deprivation of

the human need for exercise, Defendants caused Plaintiff to suffer cruel and unusual punishment.

See Wilson, 501 U.S. at 304-305 (The Eighth Amendment is violated when conditions of

confinement “produces the deprivation of a single, identifiable human”).

       Further still, Plaintiff was held in the Yellow Room without any ability to exercise or

relief from the isolation; i.e. Plaintiff was not released for a hour of exercise throughout the time

he was held in the Yellow Room. See P. Stat., ¶ 22. As a result of the deprivation of the human

need for exercise, Defendants caused Plaintiff to suffer cruel and unusual punishment. See Spain,

600 F.2d at 199 (outdoor exercise required when prisoners otherwise are confined to a cell).

       Finally, during each meal, the correctional guard took Plaintiff’s food plate well before

he had time to finish eating, depriving Plaintiff of hundreds of calories during each meal. See P.

Stat., ¶ 23. As a result of the deprivation of the human need for food, Defendants caused Plaintiff

to suffer cruel and unusual punishment. See Wilson, 501 U.S. at 304-305 (The Eighth

Amendment is violated when conditions of confinement “produces the deprivation of a single,

identifiable human”).

       There are genuine issues of material fact precluding this Court’s ability to enter

judgment. See Anderson, 477 U.S. at 256-57; see also F.R.C.P. 56. In particular, Defendants

allege that they provided Plaintiff with two sheets, a blanket, pillow, towel, and wash cloth,
which is contradicted by Plaintiff’s affidavit. Compare D. Stat., ¶ 56 with P. Stat., ¶ 19. Oddly,

Defendants base their assertion that Plaintiff was provided with the aforementioned on an

affidavit by Attorney Jonathan Kerr, who attested to Defendants’ routine, not specifics.

Defendants’ Exhibit 1, p. 2. (If an inmate is assigned to a Special Housing Unit…”)

       Considering the appropriate standards, Plaintiff respectfully requests this Honorable

Court deny Defendants’ motion concerning Plaintiff’s claim for cruel and unusual punishment as

(a) Defendants are not entitled to judgment in their favor; and (b) genuine issues of material facts

are in dispute.

                  D.   DEFENDANT, LT. BARBEN IS NOT ENTITLED TO QUALIFIED
                       IMMUNITY.

       Defendant, Lt. Barben is not entitled to qualified immunity. Lt. Barben ordered Plaintiff

to be placed in the Yellow Room, the conditions of which caused Plaintiff to be deprived of

several identifiable human needs, including the deprivation of warmth, sleep, exercise, and

sufficient food. See Section C above. As the violations were clearly established by the United

States Supreme Court in 1991, Defendant, Lt. Barben is not entitled to qualified immunity. See

Wilson v. Seiter, 501 U.S. 294, 304-305 (1991) (The Eighth Amendment is violated when

conditions of confinement “produces the deprivation of a single, identifiable human need such as

food, warmth, or exercise”); see also, Spain v. Procunier, 600 F.2d 189, 199 (CA9 1979)

(outdoor exercise required when prisoners otherwise are confined to a cell).

       Considering the appropriate standards, Plaintiff respectfully requests this Honorable

Court deny Defendants’ motion seeking qualified immunity.

III.   CONCESSIONS

       Plaintiff, Anthony Mammana, by and through his undersign counsel, voluntarily

dismisses his claims against Defendants, Federal Bureau of Prisons and Registered Nurse Rachal
Taylor without prejudice and voluntarily withdraws his claims for malicious prosecution (Count

I of Plaintiff’s Amended Complaint) and violations of due process (Count II of Plaintiff’s

Amended Complaint).

IV.    CONCLUSION

       For the foregoing reasons, Plaintiff, Anthony Mammana, by and through his undersign

counsel, respectfully requests this Honorable Court deny Defendants’ Motion and enter

Plaintiff’s proposed Order.

       WHEREFORE, Plaintiff, by and through his undersigned counsel, respectfully requests

this Honorable Court deny Defendants’ Motion and enter Plaintiff’s proposed Order.



                                                    Respectfully submitted,

                                                    WEISBERG LAW

                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    L. Anthony DiJiacomo, III, Esquire
                                                    Attorneys for Plaintiff
                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ANTHONY MAMMANA                   :
                                  :
         v.                       :                 No. 4:17-CV-0645
                                  :
FEDERAL BUREAU OF PRISONS, et al. :


                               CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 5th day of January, 2018, a

true and correct copy of Plaintiff’s Response in Opposition to Defendants’ Motion to Dismiss,

Plaintiff’s Memorandum of Law in support thereof, Plaintiff’s Response to Defendants’

Statement of Material Facts, and Plaintiff’s Statement of Material Facts was served via ECF

upon the following party:

Donald Simpson, Esquire
Assistant U.S. Attorney
228 Walnut Street
Harrisburg, PA 17101

                                                    WEISBERG LAW

                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    L. Anthony DiJiacomo, III, Esquire
                                                    Attorneys for Plaintiff
